Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 1 of 21

{a} Joint press releases disseminated by the Together Card Defendants
announcing and promoting the Together Rx Card Program;

(b) Postings on the Internet website of the Together Card Program:
www.together-rx.com; and

(c) | Written communications received from consumers located nationwide
about the Together Rx Card Program, and the dissemination of written information to
such consumers about the Together Rx Card Program.

Conduct of the Together Rx Enterprise’s Affairs

718. During the Class Period, each of the Together Card Defendants have exerted
contro] over the Together Rx Enterprise with which they were associated and, in violation of
Section 1962(c) of RICO, each of the Together Card Defendants has conducted or participated in
the conduct of the affairs of the Together Rx Enterprise, directly or indirectly. During the Class
Period, in violation of Section 1962(d) of RICO, 18 U.S.C. § 1962(d), each of the Together Card
Defendants has conspired to conduct or participate, directly or directly, in the conduct of the
affairs of the Together Rx Enterprise. Such participation, direct or indirect, in the affairs of that
RICO enterprise was carried out by the Together Card Defendants in the following ways:

(a) As alleged above, Together Rx represents an alliance of, and was formed
by, the Together Card Defendants;

(b) Each of the Together Card Defendants has participated m designing and
drafting the promotional and marketing materials for the Together Rx Card Program
including, but not limited to, press releases and Intemmet website postings;

(c) Each of the Together Card Defendants has participated in the
dissemination of promotional and marketing materials to consumers located nationwide

conceming the Together Rx Card Program; and

AMENDED MASTER CONSOLIDATED ~ 28] -
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 2 of 21

(d) The sales forces of each of the Together Card Defendants has assisted in
distributing promotional and marketing materials conceming the Together Rx Card
Program to pharmacies, physicians’ offices and community centers located nationwide.
The Together Card Defendants’ Pattern of Racketeering Activity
719. Each of the Together Card Defendants have conducted and participated in the

affairs of the Together Rx Enterprise through a pattern of racketeering activity, including acts
that are indictable under 18 U.S.C. § 1341, relating to mail fraud, and 18 U.S.C. § 1343, relating
to wire fraud. The Together Card Defendants’ pattern of racketeering likely involved thousands,
if not hundreds of thousands, of separate instances of use of the U.S. mails or interstate wire
facilities in furtherance of their Together Rx Card Scheme. Each of these fraudulent mailings
and interstate wire transmissions constitutes a “racketeering activity” within the meaning of 18
US.C. § 1961(1) (B). Collectively, these violations constitute a “pattern of racketeering
activity,” within the meaning of 18 U.S.C. § 1961(5), m which the Together Card Defendants
intended to defraud Plaintiffs, the members of the Nationwide End Payor Together Card Class
and other intended victims of the Together Rx Card Scheme.

720. The Together Rx Card Scheme was calculated and intentionally crafted by the
Together Card Defendants to ensure that Plaintiffs and members of the Nationwide End Payor
Together Card Class would be over-billed (and would overpay) for Together Card digs. In
designing and implementing the Together Rx Card Scheme, at all times the Together Card
Defendants were cognizant of the fact that Plaintiffs and members of the Nationwide End Payor
Together Card Class rely upon the honesty of the Together Card Defendants in setting the
AWPs, as reported by the Publishers.

721. The Together Card Defendants’ racketeering activities amounted to a common
course of conduct, with similar pattern and purpose, intended to deceive Plaintiffs and members

of the Nationwide End Payor Together Card Class. Each separate use of the U.S. mails and/or

AMENDED MASTER CONSOLIDATED - 282 -
CLASS ACTION COMPLAINT

1534.16 0146 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 3 of 21

interstate wire facilities employed by each of the Together Card Defendants was related, had
similar intended purposes, involved similar participants and methods of execution, and had the
same results affecting the same victims, including Plaintiffs and members of the Nationwide End
Payor Together Card Class. Each of the Together Card Defendants has engaged in the pattem of
racketeering activity for the purpose of conducting the ongoing business affairs of the Together
Rx Enterprise.

The Together Card Defendants’ Motive

722. The Together Card Defendants’ motive in creating and operating the Together Rx
Card Scheme was to fraudulently obtain sales of and profits from their Together Card Drugs.

723. The Together Rx Card Scheme was designed to, and did, encourage others,
including health care providers, to advocate the use of the Together Card Drugs. Thus, each of
the Together Card Defendants used the Together Rx Card Scheme to sel! more of its drugs,

thereby fraudulently gaining sales and market share and profits.

Damages Caused By The Together Card Defendants’ Together Rx
Card Scheme

724. The violations of federal law and their pattern of racketeering activity have
directly and proximately caused Plaintiffs and the members of Nationwide End Payor Together
Card Class to be injured in their business or property because Plaintiffs and the members of the
Nationwide End Payor Together Card Class have paid millions of dollars in inflated
reimbursements or other payments for Together Card Drugs.

725. Under the provisions of Section 1964(c)} of RICO, the Together Card Defendants
are jointly and severally liable to Plaintiffs and members of the Nationwide End Payor Together
Card Class for three times the damages that Plaintiffs and Nationwide End Payor Together Card
Class members have sustained, plus the costs of bringing this suit, including reasonable

attomeys’ fees.

AMENDED MASTER CONSGLIDATED - 283 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 4 of 21

COUNT Ix
CIVIL CONSPIRACY

(AGAINST ALL DEFENDANTS IDENTIFIED
HEREIN FOR CONSPIRING WITH PBMS)

726.° Plaintiffs incorporate the preceding allegations as if fully set forth above.

727. This Court is asserted on behalf of the AWP Payor class by class representative
CMHV and the Court has diversity jurisdiction over this claim.

728. Each of the defendants named below, for the purpose of implementing the AWP
scheme, and thereby causing plaintiffs and the Class to overpay for AWPIDs, conspired with
each of the four major PBMs: AdvancePCS, Caremark, Rx, Inc., Express Scripts, Inc. and
Medco Health Solutions. The conspiratorial arrangements are as follows:

(a) The Abbott Manufacturer-PBM Conspiracies: The Abbott Manufacturer-

PBM Conspiracies are four separate conspiracies consisting of each of the PBMs that

administered purchases of Abbott’s A WPIDs and billed its members on the basis of

Abbott’s reported AWPs, and Abbott, including its directors, employees and agents:

(1) the Abbott-AdvancePCS; (2) the Abbott-Caremark Rx; (3) the Abbott-Express

Scripts; and (4) the Abbott-Medco Health. Each of the Abbott Manufacturer-PBM

Conspiracies is an ongoing and continuing conspiracy consisting of both corporations and

individuals that are and have been associated for the common or shared purposes of

selling, purchasing, prescribing and administering AWPIDs to individual Plaintiffs and

Class members.

(b) The Amgen Manufacturer-PBM Conspiracies: The Amgen Mannfacturer-

PBM Conspiracies are four separate associations-in-fact consisting of each of the PBMs

that administered purchases of Amgen’s AWPIDs and billed its members on the basis of

Amgen’s reported AWPs, and Amgen, including its directors, employees and agents: (1)

the Amgen-AdvancePCS; (2) the Amgen-Caremark Rx; (3) the Amgen-Express Scripts;

AMENDED MASTER CONSOLIDATED - 284 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC DOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 5 of 21

and (4) the Amgen-Medco Health. Each of the Amgen Manufacturer-PBM Conspiracies
is an ongoing and continuing conspiracy consisting of both corporations and individuals
that are and have been associated for the common or shared purposes of selling,
purchasing, prescribing and administering AWPID drugs to individual Plaintiffs and
Class members.

(c) The AstraZeneca Manufacturer-PBM Conspiracies: The AstraZeneca
Manufacturer-PBM Conspiracies are four separate conspiracies consisting of each of the
PBMs that administered purchases of AstraZeneca’s AWPIDs and billed its members on
the basis of AstraZeneca’s reported AWPs, and AstraZeneca, including its directors,
employees and agents: (1) the AstraZeneca-AdvancePCS; (2) the AstraZeneca-Caremark
Rx; (3) the AstraZeneca-Express Scripts; and (4) the AstraZeneca-Medco Health. Each
of the AstraZeneca Manufacturer-PBM Conspiracies is an ongoing and continuing
conspiracy consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of selling, purchasing, prescnbing and
administering AWPIDs to individual Plaintiffs and Class members.

(d) The Aventis Group Manufacturer-PBM Conspiracies: The Aventis Group
Manufacturer-PBM Conspiracies are four separate associations-in-fact consisting of each
of the PBMs that administered purchases of Aventis Group’s AWPIDs and billed its
embers on the basis of Aventis Group’s reported AWPs, and Aventis Group, including
its directors, employees and agents: (1) the Aventis Group-AdvancePCS; (2) the Aventis
Group-Caremark Rx; (3) the Aventis Group-Express Scripts; and (4) the Aventis Group-
Medco Health. Each of the Aventis Group Manufacturer-PBM Conspiracies is an
ongoing and continuing conspiracy consisting of both corporations and individuals that
are and have been associated for the common or shared purposes of selling, purchasing,

prescribing and administering AWPIDs to individual Plaintitfs and Class members.

AMENDED MASTER CONSOLIDATED - 285 -
CLASS ACTION COMPLAINT ,

1534, 16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 6 of 21

(e) The Baxter Manufacturer-PBM Conspiracies: The Baxter Mamufacturer-
PBM Conspiracies are four separate conspiracies consisting of each of the PBMs that
administered purchases of Baxter’s AWPIDs and billed its members on the basis of
Baxter’s reported AWPs, and Baxter, including its directors, employees and agents:

(1) the Baxter-AdvancePCS; (2) the Baxter-Caremark Rx; (3) the Baxter-Express Scripts;
and (4) the Baxter-Medco Health. Each of the Baxter Manufacturer-PBM Conspiracies is
an ongoing and contmuing conspiracy organization consisting of both corporations and
individuals that are and have been associated for the common or shared purposes of
selling, purchasing, prescribing and administering AWPIDs to individual Plaintiffs and
Class members.

(f) The Bayer Manufacturer-PBM Conspiracies: The Bayer Manufacturer-
PBM Conspiracy are four separate conspiracies consisting of each of the PBMs that
administered purchases of Bayer’s AWPIDs and billed its members on the basis of

 Bayer’s reported AWPs, and Bayer, including its directors, employees and agents:
(1) the Bayer-AdvancePCS; (2) the Bayer~Caremark Rx; (3) the Bayer-Express Scripts;
and (4) the Bayer-Medco Health. Each of the Bayer Manufacturer-PBM Conspiracies is
an ongoing and continuing conspiracy consisting of both corporations and individuals
that are and have been associated for the common or shared purposes of selling,
purchasing, prescribing and administering AWPIDs to individual Plaintiffs and Class
Tmembers.

(g) The BMS Group Manufacturer-PBM Conspiracies: The BMS Group
Manufacturer-PBM Conspiracies are four separate conspiracies consisting of each of the
PBMs that administered purchases of BMS Group’s AWPIDs and billed its members on
the basis of BMS Group’s teported AWPs, and BMS Group, including its directors,
employees and agents: (1) the BMS Group-AdvancePCS; (2) the BMS Group-Caremark

AMENDED MASTER CONSOLIDATED - 286 -
CLASS ACTION COMPLAINT

1534, 16 0045 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 7 of 21

Rx; (3) the BMS Group-Express Scripts; and (4) the BMS Group-Medco Health. Each of
the BMS Group Manufacturer-PBM Conspiracies is an ongoing and continumg
conspiracy consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of selling, purchasing, prescribing and
administering AWPIDs to individual Plaintiffs and Class members.

(h) The GSK Group Manufacturer-PBM Conspiracies: The GSK Group
Manufacturer-PBM Conspiracies are four separate conspiracies consisting of each of the
PBMs that administered purchases of GSK Group’s AWPIDs and billed its members on
the basis of GSK Group’s reported AWPs, and GSK Group, including its directors,
employees and agents: (1) the GSK Group-AdvancePCS; (2) the GSK. Group-Caremark
Rx; (3) the GSK Group-Express Scripts; and (4) the GSK Group-Medco Health. Each of
the GSK Group Manufacturer-PBM Conspiracies is an ongoing and continuing
conspiracy consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of selling, purchasing, prescribing and
administering A WPIDs to individual Plaintiffs and Class members.

(i) The Hoffman-La Roche Manufacturer-PBM Conspiracies: The Hoffman-
La Roche Manufacturer-PBM Conspiracies are four separate conspiracies consisting of
each of the PBMs that administered purchases of Hoffman-La Roche’s AWPIDs and
billed its members on the basis of Hoffman-La Roche’s reported AWPs, and Hoffman-La
Roche, including its directors, employees and agents: (1) the Hoffman-La Roche-
AdvancePCS; (2) the Hoffman-La Roche-Caremark Rx; (3) the Hoffman-La Roche-
Express Scripts; and (4) the Hoffman-La Roche-Medco Health. Each of the Hoffman-La
Roche Manufacturer-PBM Conspiracies is an ongomg and continuing conspiracy

consisting of both corporations and individuals that are and have been associated for the

AMENDED MASTER CONSOLIDATED - 287 -
CLASS ACTION COMPLAINT

[534.16 9046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 8 of 21

common or shared purposes of sellimg, purchasing, prescribing and administering
AWPIDs to individual Piaintiffs and Class members.

WD The Immunex Manufacturer-PBM Enterprises: The Immunex
Manufacturer-PBM Conspiracies are four separate conspiracies consisting of each of the
PBMs that administered purchases of Immunex’s A WPIDs and billed its members on the
basis of Immunex’s reported AWPs, and Immunex, including its directors, employees
and agents: (1) the Immunex-AdvancePCS; (2) the Immunex-Caremark Rx; (3) the
Immunex-Express Scripts; and (4) the immunex-Medca Health. Each of the Immunex
Manufacturer-PBM Conspiracies is an ongomg and continuing conspiracy consisting of
both corporations and individuals that are and have been associated for the common or
shared purposes of selling, purchasing, prescribing and administering AWPIDs to
individual Plaintiffs and Class members.

(k) The Johnson & Johnson Group Manufacturer-PBM Conspiracies: The
Johnson & Johnson Group Manufacturer-PBM Conspiracies are four separate
conspiracies consisting of each of the PBMs that administered purchases of Johnson &
Johnson Group’s AWPIDs and billed its members on the basis of Johnson & Johnson
Group’s reported AWPs, and Johnson & Johnson Group, including its directors,
employees and agents: (1} the Johnson & Johnson Group-AdvancePCS; (2) the Johnson
& Johnson Group-Caremark Rx; (3) the Johnson & Johnson Group-Express Scripts; and
(4) the Johnson & Johnson Group-Medco Health. Each of the Johnson & Johnson Group
Manufacturer-PBM Conspiracies is an ongoing and continuing conspiracy consisting of
both corporations and individuals that are and have been associated for the common or
shared purposes of selling, purchasing, prescribing and administering AWPIDs to

individua! Plaintiffs and Class members.

AMENDED MASTER CONSOLIDATED - 288 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC. DOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 9 of 21

{/) The Pfizer Manufacturer-PBM Conspiracies: The Pfizer Manufacturer-
PBM Conspiracies are four separate conspiracies consisting of each of the PBMs that
‘administered purchases of Pfizer’s AWPIDs and billed its members on the basis of
Pfizer’s reported AWPs, and Pfizer, including its directors, employees and agents:

(1) the Pfizer-AdvancePCS; (2) the Pfizer-Caremark Rx; (3) the Pfizer-Express Scripts:
and (4) the Pfizer-Medco Health. Each of the Pfizer Manufacturer-PBM Conspiracies is
an ongoing and continuing conspiracy consisting of both corporations and individuals
that are and have been associated for the common or shared purposes of selling,
purchasing, prescribing and administering AWPIDs to individual Plaintiffs and Class
members.

(m) The Pharmacia Group Manufacturer-PBM Conspiracies: The Pharmacia
Group Manufacturer-PBM Conspiracies are four separate conspiracies consisting of each
of the PBMs that administered purchases of Pharmacia Group’s AWP!Ds and billed its
members on the basis of Pharmacia Group’s reported AWPs, and Pharmacia Group,
including its directors, employees and agents: (1) the Pharmacia Group-AdvancePCS;
(2) the Pharmacia Group-Caremark Rx; (3) the Pharmacia Group-Express Scripts; and
(4) the Pharmacia Group-Medco Health. Each of the Pharmacia Group Manufacturer-
PBM Conspiracies is an ongoing and continuing conspiracy consisting of both
corporations and individuals that are and have been associated for the common or shared.
purposes of selling, purchasing, prescribing and administering AWPIDs to individual
Plaintiffs and Class members.

(n) ‘The Schering-Plough Group Manufacturer-PBM Conspiracies: The
Schering-Plough Group Manufacturer-PBM Conspiracies are four separate conspiracies
consisting of each of the PBMs that administered purchases of Schering-Plough Group’s
AWPIDs and billed its members on the basis of Schering-Plough Group’s reported

AMENDED MASTER CONSOLIDATED ~ 289 -
CLASS ACTION COMPLAINT

1334.16 0045 BSC HOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 10 of 21

AWPs, and Schering-Plough Group, including its directors, employees and agents:

(1) the Schering-Plough Group-AdvancePCS; (2) the Schering-Plough Group-Caremark
Rx; (3) the Schering-Plough Group-Express Scripts; and (4) the Schering-Plough Group-
Medco Health. Each of the Schermg-Plough Group Manufacturer-PBM Conspiracies is
an ongoing and continuing conspiracy consisting of both corporations and individuals
that are and have been associated for the common or shared purposes of selling,
purchasing, prescribing and administering AWPIDs to individual Plaintiffs and Class
members.

(0) ‘The Sicor Group Manufacturer-PBM Conspiracies: The Sicor Group
Manufacturer-PBM Conspiracies are four separate conspiracies consisting of each of the
PBMs that administered purchases of Sicor Group’s AWPIDs and billed its members on
the basis of Sicor Group’s reported AWPs, and Sicor Group, including its directors,
employees and agents: (1) the Sicor Group-AdvancePCS; (2) the Sicor Group-Caremark
Rx; (3) the Sicor Group-Express Scripts; and (4) the Sicor Group-Medco Health. Each of
the Sicor Group Manufacturer-PBM Conspiracies is an ongoing and continuing
conspiracy consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of selling, purchasing, prescribing and
administering AWPIDs to individual Plaintiffs and Class members.

(p) The TAP Group Manufacturer-PBM Conspiracies: The TAP Group
Manufacturer-PBM Conspiracies are four separate conspiracies consisting of each of the
PBMs that administered purchases of The TAP Group’s AWPIDs and billed its members
on the basis of The TAP Group’s reported AWPs, and Pfizer, including its directors,
employees and agents: (1) The TAP Group-AdvancePCS; (2) The TAP Group-Caremark
Rx; (3) The TAP Group-Express Scripts; and (4) The TAP Group-Medco Health. Each

of The TAP Group Manufacturer-PBM Conspiracies is an ongoing and continuing

AMENDED MASTER CONSOLIDATED - 290 -
CLASS ACTION COMPLAINT

1534.160026 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 11 of 21

conspiracy consisting of both corporations and individuals that are and have been
associated for the common or shared purposes of selling, purchasing, prescribing and
administermg AWPIDs to individual Plaintiffs and Class members.

(q) The Watson Manufacturer-PBM Conspiracies: The Watson
Manufacturer-PBM Conspiracies are four Separate conspiracies consisting of each of the
PBMs that administered purchases of Watson’s AWPIDs and billed its members on the
basis of Watson’s reported AWPs, and Pfizer, including its directors, employees and
agents: (1) the Watson-AdvancePCS: (2) the Watson-Caremark Rx; (3) the Watson-
Express Scripts; and (4) the Watson-Medco Health. Each of the Watson Manufacturer-
PBM Conspiracies is an ongoing and continuing conspiracy consisting of both
corporations and individuals that are and have been associated for the common or shared
purposes of selling, purchasing, prescribing and administering AWPIDs to individual
Plaintiffs and Class members.

(r) The Warrick Manufacturer — PBM Conspiracies: The Warrick
Manufacturer-PBM Conspiracies are four separate conspiracies consisting of each of the
PBMs that administered purchases of Warrick’s AWPIDs and billed its members on the
basis of Warrick’s reported AWPs, and Pfizer, including its directors, employees and
agents: (1) Warrick-AdvancePCS: (2) Warrick-Caremark Rx; (3) Warrick-Express
Scripts; and (4) Warrick-Medco Health. Each of the Warrick Manufacturer-PBM
Conspiracies is an ongoing and continuing conspiracy consisting of both corporations and
individuals that are and have been associated for the common or shared purposes of
selling, purchasing, prescribing and administering AWPIDs to individual Plaintiffs and
Class members.

(s) The Dey-PBM Conspiracies: The Dey-PBM Conspiracies are four

separate Conspiracies consisting of each of the PBMs that administered purchases of

AMENDED MASTER CONSOLIDATED -29] -
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOS

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 12 of 21

Dey’s AWPIDs and billed its members on the basis of Dey’s reported AWPs, and Pfizer,
including its directors, employees and agents: (1) Dey -AdvancePCS; (2) Dey-Caremark
Rx; (3) Dey -Express Scripts; and (4) Dey -Medco Health. Each of Dey-PBM
Conspiracies is an ongoing and continuing conspiracy consisting of both corporations and
individuals that are and have been associated for the common or shared purposes of
selling, purchasing, prescribing and administering AWPIDs to individual Plaintiffs and
Class members.

(t) The Boehringer Group-PBM Conspiracies: The Boehringer Group-PBM
Conspiracies are four separate conspiracies consisting of each of the PBMs that
administered purchases of Boehring Group’s AWPIDs and billed its members on the
basis of Boehring Group’s reported AWPs, and Pfizer, including its directors, employees
and agents: (1) Boehring Group-AdvancePCS; (2} Boehring Group-Caremark Rx;

(3) Boehring Group-Express Scripts; and (4) Boehring Group-Medco Heaith. Each of
Boehringer Group-PBM Conspiracies is an ongoing and continuing conspiracy consisting

_of both corporations and individuals that are and have been associated for the common or
shared purposes of selling, purchasing, prescribing and administering AWPIDs to
individual Plaintiffs and Class members.

(a) The B. Braun-PBM Conspiracies: The B. Braun-PBM Conspiracies are
four separate conspiracies consisting of each of the PBMs that administered purchases of
B. Braun’s AWPIDs and billed its members on the basis of B. Braun’s reported AWPs,
and Pfizer, including its directors, employees and agents: (1) B. Braun-AdvancePCS;

(2) B. Braun-Caremark Rx; (3) B. Braun-Express Scripts; and (4) B. Braun-Medco
Health. Each of B. Braun-PBM Conspiracies is an ongoing and continuing conspiracy

consisting of both corporations and individuals that are and have been associated for the

AMENDED MASTER CONSOLIDATED - 292 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC. DOC
Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 13 of 21

common or shared purposes of selling, purchasing, prescribing and administering

AWPIDs to individual Plaintiffs and Class members.

(v) The Fujisawa-PBM Conspiracies: The Fujisawa-PBM Conspiracies are
four separate conspiracies consisting of each of the PBMs that administered purchases of
Fujisawa’s AWPIDs and billed its members on the basis of Fujisawa’s reported AWPs,
and Pfizer, including its directors, employees and agents: (1) Fujisawa-AdvancePCS;

(2) Fujisawa-Caremark Rx; (3) Fujisawa-Express Scripts; and (4) Fujisawa-Medco

Health. Each of Fujisawa-PBM Conspiracies is an ongoing and continuing conspiracy

consisting of both corporations and individuals that are and have been associated for the

common or shared purposes of selling, purchasing, prescribing and administering

AWPIDs to individual Plaintiffs and Class members.

729. Defendants consciously conspired and deliberately pursued a common plan or
design to commit tortious acts, with each PBM that was part of its conspiracy, subjecting each to
joint liability. Each Defendant Drug Manufacturer and each PBM had the common purpose of
perpetuating a reimbursement system based on AWP, because such a system financially benefits
both the manufacturer and the PBM. The Defendant Drug Manufacturers deliberately and
fraudulently overstate the AWPs for their AWPIDs, thereby creating a “spread” based on the
inflated figure in order to obtain each of the PBM agreement to advocate and favor that particular
Defendant Drug Manufacturer’s drugs to the members of that PBM’s clients. Each of the PBMs
then billed their clients for the particular Defendant Drug Manufacturers’ AWPIDs based on the
inflated AWPs, which did not reflect the true price paid by the PBMs for the AWPIDs. All of
these acts — and more — were done as part of a conspiracy to deceive payors, in violation of
applicable state consumer protection laws and the common law of fraud. All of these acts were
done in violation of Medicare anti-fraud kickback statutes and were done pursuant to acts of wire

and mai] fraud.

AMENDED MASTER CONSOLIDATED - 293 -
CLASS ACTION COMPLAINT

1534.16 0046 BSCT.DOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 14 of 21

730. Defendants each committed an unlawful act or acts in furtherance of this
conspiracy, including:

(a) Issuing false marketing materials about the AWPs for AWPIDs and the
available spread, which were sent by the Defendant Drug Manufacturers to PBMs
(inchiding Medco Health) located across the country;

(b) Written representations of the AWPs made by the Defendant Dug
Manufacturers to the Publishers, which were made at least annually and in many cases
several times during a single year and which the PBMs knew were false;

(c) Thousands of written and oral communications discussing, negotiating and
confirming the placement of a Defendant Drug Manufacturer's brand name drugs on a
particular PBM’s formulary;

(d} Documents providing information or incentives designed to lessen the
prices that each of the PBMs paid for AWPIDs, and/or to conceal those prices or the
AWP Scheme;

(e) Written communications, including checks, relating to rebates, kickbacks
or other financial inducements paid to each of the PBMs to persuade them to advocate
one Defendant Drug Manufacturers” AWPIDs over a drug manufactured by a competitor;

(f) Written and oral communications with U.S. Government agencies and
private insurers that fraudulently misrepresented what the AWPs were, or that were
intended to deter investigations into the true nature of the AWPs or to forestall changes to
reimbursement based on something other than A WPs;

(¢) Written and oral communications with health insurers and patients,
including Plaintiffs and the members of Classes, inducing payments for the drugs that

were made in reliance on AWPs; and

AMENDED MASTER CONSOLIDATED - 294 -
CLASS ACTION COMPLAINT

2534.16 0046 BSC. DOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 15 of 21

{h) Receipts of money on tens of thousands of occasions through the U.S.
mails and interstate wire facilities — the wrongful proceeds of the Defendant Drug
Manufacturers’ AWP Scheme.

731. <All of these acts were done as part of a conspiracy to deceive end payors, in
violation of applicable state consumer protection laws and the common Jaw of fraud. All of
these acts were also committed in violation of applicable Medicare anti-fraud kickback statutes,
and were committed pursuant to acts of unlawful instances of mail and wire fraud.

732. Plaintiffs are entitled to a presumption of reliance on the false representations,
concealments and nondisclosures by Defendants. The Class Members were ignorant of
Defendants’ representations and were ignorant of the full and tre facts suppressed by
Defendants, and such reliance was justified.

733. Asa direct, proximate result of this conspiracy, Plaintiffs and Class Members
have been injured, as they have suffered and continue to suffer economic losses and general and

specific damages, all in an amount to be determined according to proof.

COUNT X
CIVIL CONSPIRACY
(AGAINST THE TOGETHER CARD DEFENDANTS)

734. Plaintiffs incorporate the preceding allegations as if fully set forth above.

735. This count is asserted by the Nationwide End Payor Together Card Class, and by
class representative CMHV. The Court has diversity jurisdiction over this claim.

736. Each of the Together Card Defendants joined in a conspiracy to fix, set and/or
maintain the spread between their reported AWP and WAC and each agreed to raise their AWPs
prior to implementation of the Together Card Program. Each Together Card Defendant also
agreed to publish AWPs that were inflated. Each Together Card Defendant also knew that the

AMENDED MASTER CONSOLIDATED - 295 -
CLASS ACTION COMPLAINT

1334.16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 16 of 21

other Together Card Defendant’s AWPs were often inflated, so each was aware that by agreeing
to raise and fix AWPs, they were perpetuating the use of inflated AWPs on a nationwide basis.

737. The Together Card Defendants consciously conspired and deliberately pursued a
common plan or design to commit tortious acts, subjecting each to joint liability.

738. Together Card Defendants each committed unlawful act or acts in furtherance of
this conspiracy, including acts violating the Sherman Act, state consumer protection laws, the
common law and committed acts of mail and wire fraud. All of these acts were in furtherance of
the conspiracy.

739. As anecessary, mevitable and intended part of the conspiracy (and as detailed
throughout this complaint}, each of the Together Card Defendants structured, arranged and/or
otherwise participated in transactions designed to conceal the scheme.

740. ‘Plaintiffs are entitled to a presumption of reliance on the false representations,
concealments and nondisciosures by the Together Card Defendants. The Nationwide End Payor
Together Card Class Members were ignorant of Together Card Defendants’ conduct and were
ignorant of the full and true facts suppressed by them, and such reliance was justified.

741. Asa direct, proximate result of this conspiracy, Plaintiffs and the Nationwide End
Payor Together Card Class Members have been injured, as they have suffered and continue to
suffer economic losses and general and specific damages, all in an amount to be determined
according to proof.

xX. PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that:

A. The Court determine that this action may be maintained as a class action pursuant
to Rule 23(b) (2) of the Federal Rules of Civil Procedure with respect to Plaintiffs’ claims for
declaratory, equitable and injunctive relief, and Rule 23(b) (3) of the Federal Rules of Civil

AMENDED MASTER CONSOLIDATED ~ 296 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 17 of 21

Procedure with respect to the claims for damages, and declaring Plaintiffs as representatives of
the Classes and thetr counsel as counsel for the Classes;

B. The conduct alleged herem be declared, adjudged and decreed to be unlawful;

C. Plaintiffs and the Classes be granted an award of damages in such amount to be
determined at trial, with trebling under Counts L Il, VI and VIUI;

D. Plaintiffs and the Classes be granted an award of punitive damages in such
amount to be determined at trial;

EB. Defendants be enjoined from continuing the illegal activities alleged herein;

F, Plaintiffs and the Classes recover their costs of suit, including reasonable
attorneys’ fees and expenses as provided by law; and

G. Plaintiffs and the Classes be granted such other, further, and different relief as the
nature of the case may require or as may be determined to be just, equitable, and proper by this

Court.

XL DEMAND FOR JURY TRIAL
Plaintiffs demand a jury trial] on all issues so triable.
DATED: June 12, 2003.

Boston, Massachusetts

By

Thomas M. Sobol
Edward Notargiacomo
Hagens Berman LLP
225 Franklin Street, 26" Floor
Boston, MA 92110
Telephone: (617) 482-3700
Facsimile: (617) 482-3003

AMENDED MASTER CONSOLIDATED - 297 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-10 Filed 07/28/03 Page 18 of 21

Steve W. Berman

Sean R. Matt

Hagens Berman LLP

1301 Fifth Avenue, Suite 2900
Seattle, WA 98101
Telephone: (206) 623-7292
Facsimile: {206) 623-0594

LIAISON AND CO-LEAD COUNSEL

Eugene A. Spector

Jeffrey Kodroff

Spector, Roseman & Kodroff, P.C.
1818 Market Street, Suite 2500
Philadelphia, PA 19103
Telephone: (215) 496-0300
Facsimile: (215) 496-6611

Marc H. Edelson

Hoffman & Edelson

45 West Court Street
Doylestown, PA 18901
Telephone: (215) 230-8043
Facsimile: (215) 230-8735

Kenneth A. Wexler

Elizabeth Fegan Hartweg

Kenneth A. Wexler & Associates
One North LaSalle Street, Suite 2000
Chicago, IL 60602

Telephone: (312) 346-2222
Facsimile: (312) 346-0022

Samuel Heins

Brian Williams

Heins, Mills & Olson, P.C.
700 Northstar East

608 Second Avenue South
Minneapolis, MN 55402
Telephone: (612} 338-4605
Facsimile: (612) 338-4692

CO-LEAD COUNSEL

AMENDED MASTER CONSOLIDATED - 298 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-10

Michael McShane

Alexander, Hawes & Audet, LLP
300 Montgomery Street, Suite 400
San Francisco, CA 94104
Telephone: (415) 982-1886
Facsimile: (415) 576-1776

Robert E. Piper, Jr.

Piper & Associates

624 Pierre Avenue
Shreveport, LA 71103
Telephone: (318) 226-0826
Facsimile: (318) 424-9900

PLAINTIFFS LEAD COUNSEL COMMITTEE

Anthony Bolognese

Bolognese & Associates

One Penn Center

1617 JFE Boulevard, Suite 650
Philadelphia, PA 19103

Tel: (215) 814-6750

Fax: (215) 814-6764

Michael J. Flannery

Carey & Danis, LLC

676 North Michigan Ave., Suite 3110
Chicago, IL 60611

Tel: (312) 649-0100

Fax: (312) 664-7731

Jonathan W. Cuneo

The Cuneo Law Group

317 Massachusetts Ave. N.E., Suite 300
Washington, DC 20002

Tel: (202) 789-3960

Fax: (202) 789-1813

Neal Goldstein (Of Counsel)
Freedman & Lorry, PC

400 Market Street, Suit 900
Philadelphia, PA 19106

Tel: (215) 925-8400

Fax: (215) 925-7516

AMENDED MASTER CONSOLIDATED - 299 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC

Filed 07/28/03

Page 19 of 21

Case 1:01-cv-12257-PBS Document 443-10

Michaej E. Criden

Hanzman & Criden, PA
Commerce Bank Center, Suite 400
220 Alhambra Circle

Coral Gables, FL 33134

Tel: (305) 357-9000

Fax: (305) 357-9050

Blake M. Harper

Kirk B. Hulett

Hulett Harper LLP

550 West C Street, Suite 1700
San Diego, CA 92101

Tel: (619) 338-1133

Fax: (619) 338-1139

Jonathan D. Karmel
Karmel! & Gilden
221 N. LaSalle Street
Suite 1414

Chicago, IL 60601
Tel: (312) 641-2910
Fax: (312) 641-0781

Dianne M. Nast
Reda & Nast, PC
801 Estelle Drive
Lancaster, PA 17601
Tel: 717-892-3000
Fax: 717-892-1200

Henry H. Rossbacher

Rossbacher & Associates

$11 Wilshire Boulevard, Suite 1650
Los Angeles, CA 90017-2666

Tel: (213) 895-6500

Fax: (213) 895-6161

Jonathan Shub

Sheller, Ludwig & Badey, P.C.
1528 Walnut Street, 3rd Floor
Philadelphia, PA 19102

Tel: (215) 790-7300

Fax: (215) 546-0942

Scott R. Shepherd

Shepherd & Finkleman, LLC
117 Gayley Street, Suite 200
Media, PA 19063

Tel: (610) 891-9880

Fax: (610) 891-9883

AMENDED MASTER CONSOLIDATED - 300 -
CLASS ACTION COMPLAINT

1534.16 0046 BSC. DOC

Filed 07/28/03 Page 20 of 21

Case 1:01-cv-12257-PBS Document 443-10

Lee Squitieri

Squitieri & Fearon

521 Fifth Avenue, 26th floor
New York, NY 10175

Tel: (646) 487-3049

Fax: (646) 487-3095

Lisa J. Rodriguez

Ira Neil Richards

Trujillo Rodriguez& Richards, LLC
The Penthouse

226 West Rittenhouse Square
Philadelphia, PA 19103

Tel: (215) 731-9004

Fax: (215) 731-9044

Mitchell A. Toups

Weller, Green, Toups & Terrell, L.L-P.
2615 Calder Street, Suite 400
Beaumont, TX 77704

Tel: (409) 838-0101

Fax: 409-838-6780

Damon Young

Lance Lee

Young, Pickett & Lee

4122 Texas Boulevard
Texarkana, AR/TX 75504

Tel: (903) 794-1303

Fax: 903-792-5098; 903-794-5098

Stephen C. Richman, Esq.
Markowitz & Richman

121 South Broad Street

1100 North America Building
Philadelphia, PA 19107
Telephone: (215) 875-3100

AMENDED MASTER CONSOLIDATED - 30] -
CLASS ACTION COMPLAINT

1534.16 0046 BSC DOC

Filed 07/28/03 Page 21 of 21

